Case 2:24-cv-01349-NR Document 29-1 Filed 10/07/24 Page 1of1

Co cael Wrest

17242 Citcen
Ervine CA 92612

Dear Ce cael AN est

On _ Su ey \\ 2024 this office received your nomination papers for the

office of A S President , lt __ District, 28 + pages,

Justice For All Political Body, filing fee, and a copy of your Statement of Financial

Interests, if applicable. However, this office did not receive a valid candidate’s affidavit. Der ) 4
A blank candidate’s affidavit is attached for your use. Ejector

This office will hold your nomination papers, filing fee, and a copy of your Statement of
Financial Interests (if applicable) pending receipt of a valid candidate’s affidavit, which
must be received by this office no later than 5:00 P.M., Thursday, August 1° 2024.

Sincerely,

Jessica Mathis
Director, Bureau of Elections

Attachment

(*) Kp—
ACKNOWLEDGED BY: a v
CRYANNA DUNT
Papers Pending — Affidavit

Bureau of Elections
210 North Office Building | 401 Nerth Street | Harrisburg, PA 17120 | 717.787.5280 | Fax 717.705.0721
www.dos.pa.gov
